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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


UNITED STATES OF AMERICA                      §
                                              §
versus                                        § CRIMINAL ACTION NO. 4:22cr289
                                              §
GUY WESLEY REFFITT (1)                        §

                                          ORDER

         Defendant Guy Wesley Reffitt’s Motion for Continuance (#14) is granted.

The Court, having considered the factors set forth in 18 U.S.C. § 3161, finds as

follows:

         1.     Defendant’s request is made knowingly, intelligently, and voluntarily.

         2.     The Government has no objection to a continuance.

         3.     Having considered the factors listed in 18 U.S.C. § 3161(h)(7)(B), the
                Court finds that the ends of justice served by granting Defendant’s
              . request outweigh the best interests of the public and the Defendant
                in a speedy trial.

         4.     This continuance is required to assure the necessary time for counsel
                to prepare effectively for trial, taking into account the exercise of due
                diligence.

         5.     The period of delay due to the motion for continuance is the period
                from the date of the motion through the date of the new trial
                setting, and this is excludable time under the Speedy Trial Act.

         Defendant’s Motion for Continuance is GRANTED, and this case is reset

for Pretrial Conference and Trial Scheduling on June 5, 2023, at 9:00 a.m.

                 So ORDERED and SIGNED this 12th day of March, 2023.




                                                             ____________________________________
                                                             SEAN D. JORDAN
                                                             UNITED STATES DISTRICT JUDGE
